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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 11 B 46556
         Robert S Perry

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 11/17/2011.

         2) The plan was confirmed on 05/24/2012.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
05/24/2012, 06/11/2015, 02/01/2017.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 04/17/2014, 04/22/2015, 01/20/2016, 05/05/2016, 08/01/2016, 10/27/2016.

         5) The case was Completed on 12/27/2016.

         6) Number of months from filing to last payment: 61.

         7) Number of months case was pending: 70.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $36,244.70.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

          Total paid by or on behalf of the debtor                     $50,880.00
          Less amount refunded to debtor                                    $0.00

NET RECEIPTS:                                                                                             $50,880.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                          $1,859.00
    Court Costs                                                                        $0.00
    Trustee Expenses & Compensation                                                $2,084.08
    Other                                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                           $3,943.08

Attorney fees paid and disclosed by debtor:                              $0.00


Scheduled Creditors:
Creditor                                                Claim         Claim            Claim        Principal      Int.
Name                                          Class   Scheduled      Asserted         Allowed         Paid         Paid
AFNI                                      Unsecured            NA          72.00            72.00           7.24       0.00
AFNI                                      Unsecured         104.00           NA               NA            0.00       0.00
Ashley Funding                            Unsecured            NA          79.00            79.00           7.94       0.00
Bonded Coll                               Unsecured         100.00           NA               NA            0.00       0.00
Cash Advance                              Unsecured         700.00           NA               NA            0.00       0.00
CMRE Financial Svcs                       Unsecured         687.00           NA               NA            0.00       0.00
Custom Collection                         Unsecured         122.00           NA               NA            0.00       0.00
Desert Schools Federal CU                 Unsecured      1,724.00       1,724.19         1,724.19        173.26        0.00
DT Credit Co                              Unsecured     10,483.00     10,483.85        10,483.85       1,053.50        0.00
Educational Credit Management Corp        Unsecured      1,024.00       1,026.66         1,026.66        103.17        0.00
Equable Ascent Financial                  Unsecured            NA         121.19           121.19          12.18       0.00
Firstsource Advantage LLC                 Unsecured      1,386.00            NA               NA            0.00       0.00
Granite Recovery                          Unsecured            NA         189.93           189.93          19.09       0.00
I C Systems Inc                           Unsecured         381.00           NA               NA            0.00       0.00
Internal Revenue Service                  Secured        4,460.00       4,040.00         4,250.00      4,250.00        0.00
Internal Revenue Service                  Priority       8,000.00       9,261.69         9,261.69      9,261.69        0.00
Internal Revenue Service                  Unsecured     15,000.00     16,030.26        16,030.26       1,610.86        0.00
Jefferson Capital Systems LLC             Unsecured      1,290.00            NA               NA            0.00       0.00
Jefferson Capital Systems LLC             Unsecured         925.00        895.29           895.29          89.97       0.00
Jefferson Capital Systems LLC             Unsecured            NA         750.77           750.77          75.44       0.00
Merchandise Credit Guide                  Unsecured      1,220.00            NA               NA            0.00       0.00
Midland Funding LLC                       Unsecured            NA         801.80           801.80          80.57       0.00
Northern Indiana Public Service Company   Unsecured         121.00        121.15           121.15          12.17       0.00
Pioneer Credit                            Unsecured         498.00           NA               NA            0.00       0.00
Southwest Recovery                        Unsecured          50.00           NA               NA            0.00       0.00
State Of Arizona Dept Of Economic Sec     Priority      30,179.84     57,450.95        30,179.84      30,179.84        0.00
Surety Acceptance                         Unsecured          56.00           NA               NA            0.00       0.00
West McEowell Justice Court               Unsecured         600.00           NA               NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                  $4,250.00          $4,250.00              $0.00
 TOTAL SECURED:                                           $4,250.00          $4,250.00              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                               $39,441.53         $39,441.53              $0.00
 TOTAL PRIORITY:                                         $39,441.53         $39,441.53              $0.00

 GENERAL UNSECURED PAYMENTS:                             $32,296.09          $3,245.39              $0.00


Disbursements:

         Expenses of Administration                             $3,943.08
         Disbursements to Creditors                            $46,936.92

TOTAL DISBURSEMENTS :                                                                      $50,880.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 09/25/2017                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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